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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 15-1400V
                                   Filed: September 9, 2016
                                          Unpublished

****************************
DEBORAH VANDERPOOL,                      *
                                         *
                     Petitioner,         *      Damages Decision Based on Proffer;
v.                                       *      Influenza (“flu”) Vaccine; Shoulder Injury
                                         *      Related to Vaccine Administration
SECRETARY OF HEALTH                      *      (“SIRVA”); Special Processing Unit
AND HUMAN SERVICES,                      *      (“SPU”)
                                         *
                     Respondent.         *
                                         *
****************************
Danielle Strait, Maglio Christopher and Toale, Sarasota, FL, for petitioner.
Ryan Pyles, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

       On November 19, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act” or “Program”). Petitioner alleged that she received an influenza (“flu”)
vaccination on December 1, 2014, and thereafter suffered from a shoulder injury related
to vaccine administration (“SIRVA”). The case was assigned to the Special Processing
Unit (“SPU”) of the Office of Special Masters.

        On February 17, 2016, the undersigned issued a ruling on entitlement finding
petitioner entitled to compensation for a SIRVA. On September 9, 2016, respondent
filed a proffer on award of compensation (“Proffer”) indicating petitioner should be
awarded $104,801.21. Proffer at 1. In the Proffer, respondent represented that


1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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petitioner agrees with the proffered award. Based on the record as a whole, the
undersigned finds that petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner the following compensation:

        (a) A lump sum of $4,801.21, which amount represents reimbursement of a
            State of Washington Medicaid lien, in the form of a check payable jointly
            to petitioner and

                                            Coordinated Care
                                      5615 High Point Drive, Suite 100
                                             Irving, TX 75038

            Petitioner agrees to endorse this payment to Coordinated Care; and

        (b) A lump sum of $100,000.00 in the form of a check payable to petitioner.
            This amount and the amount listed in paragraph (a) above represents
            compensation for all elements of compensation under § 300aa-15(a) to which
            petitioner is entitled.

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


                                                      2
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS


DEBORAH VANDERPOOL,

                      Petitioner,

v.                                                      No. 15-1400V
                                                        Chief Special Master Nora Beth Dorsey
SECRETARY OF HEALTH AND                                 ECF
HUMAN SERVICES,

                      Respondent.


             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On February 17, 2016, respondent filed her Rule 4(c) Report, in which she recommended

that the Court find petitioner entitled to compensation, and on the same date, the Court entered

its Ruling on Entitlement, finding petitioner entitled to compensation. Respondent now proffers

that petitioner receive an award of compensation as follows:

       a. A lump sum of $4,801.21, which amount represents reimbursement of a State of
       Washington Medicaid lien, in the form of a check payable jointly to petitioner and

                                           Coordinated Care
                                    5615 High Point Drive, Suite 100
                                          Irving, TX 75038.

       Petitioner agrees to endorse this payment to Coordinated Care; and

       b. A lump sum of $100,000.00 in the form of a check payable to petitioner. This amount
       and the amount listed in paragraph (a) above represents compensation for all elements of
       compensation under 42 U.S.C. § 300aa-15(a) to which petitioner is entitled.1

Petitioner agrees with the proffered award of $104,801.21.2


1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future pain and suffering, and future lost wages.



                                                   1
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                                                   Respectfully submitted,

                                                   BENJAMIN C. MIZER
                                                   Principal Deputy Assistant Attorney General

                                                   C. SALVATORE D’ALESSIO
                                                   Acting Director
                                                   Torts Branch, Civil Division

                                                   CATHARINE E. REEVES
                                                   Acting Deputy Director
                                                   Torts Branch, Civil Division

                                                   VORIS E. JOHNSON, JR.
                                                   Senior Trial Attorney
                                                   Torts Branch, Civil Division

                                                   s/ RYAN D. PYLES
                                                   RYAN D. PYLES
                                                   Trial Attorney
                                                   Torts Branch, Civil Division
                                                   U.S. Department of Justice
                                                   P.O. Box 146
                                                   Benjamin Franklin Station
                                                   Washington, DC 20044-0146
                                                   Tel: (202) 616-9847

Dated: September 9, 2016




2
  This proffer does not include any award for attorneys’ fees and costs that may be awarded
pursuant to 42 U.S.C. § 300aa-15(e).


                                               2
